   Case 18-00273             Doc 11        Filed 11/08/18          Entered 11/08/18 14:05:33 Desc Main
                   Joji Takada, not individually but as Ch. 7 Trustee for the
                                              Document           Page 1 of  4
        bankruptcy estate of Carhart, Inc. v. Kexin Carhart
                                                                          Adv Proc No: 18-00273
                                      Plaintiff v Defendant


                                             CERTIFICATE OF SERVICE

      I,    Nathaniel Cade, Jr. , certify that service of this summons and a copy of the
complaint was made November 8, 2018 by:

              ✔      Mail service: Regular, first class United States mail, postage fully pre-paid, addressed
                     to: (Service by USPS Priority Mail)
                         Kexin Carhart, 621Seaview Court, #P2
                         Marco Island, FL 34145
                     Personal Service: By leaving the process with the defendant or with an officer or
                     agent of defendant at:



                     Residence Service: By leaving the process with the following adult at:



                     Certified Mail Service on an Insured Depository Institution: By sending the process
                     by certified mail addressed to the following officer of the defendant at:



                     Publication: The defendant was served as follows: [Describe briefly]



                     State Law: The defendant was served pursuant to the laws of the State of
                     as follows: [Describe briefly]



        If service was made by personal service, by residence service, or pursuant to state law, I
further certify that I am, and at all times during the service of process was, not less than 18 years of
age and not a party to the matter concerning which service of process was made.

              Under penalty of perjury, I declare that the foregoing is true and correct.

Date          November 8, 2018                                Signature   s/Nathaniel Cade, Jr./
              Print Name:          Nathaniel Cade, Jr.
              Business Address: Cade Law Group LLC
                                PO Box 170887
                                Milwaukee, WI 53217
                                                                                                                   $6,702
                                                                                                                   U S P O S TA G E
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                                                                                                                   53217
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  PRIORITY                                                   Cade O Law Group
                                                                      R.G. Box 170887
                                                                                                                                                          Case 18-00273




    ★ MAIL ★                                                        Milwaukee, Wi 53217



           DATE OF DELIVERY SPECIFIED*
                                                                                                                                                          Doc 11




           USPS TRACKING^" INCLUDED*


   $ INSURANCE INCLUDED *                                                                 Kexin Carhart
                                                                                          621 Seaview Court
 1^51 PICKUP AVAILABLE
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                                                                                          #P2
          * Domestic only
                                                                                          Marco Island, PL 34145
                                                                                                                                                     Page 2 of 4




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   ^ U N ITED STATES
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        Case 18-00273     Doc 11    Filed 11/08/18 Entered 11/08/18 14:05:33         Desc Main
                                      Document     Page 3 of 4

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Expected Delivery on

THURSDAY

8     NOVEMBER
      2018            See Product Information




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     Delivered
November 8, 2018 at 2:24 pm
Delivered, In/At Mailbox
MARCO ISLAND, FL 34145 

Get Updates




  Text & Email Updates


  Tracking History


  November 8, 2018, 2:24 pm
  Delivered, In/At Mailbox
  MARCO ISLAND, FL 34145 
  Your item was delivered in or at the mailbox at 2:24 pm on November 8, 2018 in MARCO ISLAND, FL
  34145.



  November 8, 2018, 8:35 am
  Out for Delivery
  MARCO ISLAND, FL 34145 
      Case 18-00273           Doc 11   Filed 11/08/18 Entered 11/08/18 14:05:33   Desc Main
November 8, 2018, 8:25 am                Document     Page 4 of 4
Sorting Complete
MARCO ISLAND, FL 34145 



November 8, 2018, 7:10 am
Arrived at Post Office
MARCO ISLAND, FL 34145 



November 8, 2018, 5:41 am
Arrived at USPS Facility
MARCO ISLAND, FL 34146 



November 8, 2018, 3:58 am
Departed USPS Regional Facility
FORT MEYERS FL DISTRIBUTION CENTER 



November 8, 2018, 1:20 am
Arrived at USPS Regional Facility




                                                                                              Feedback
FORT MEYERS FL DISTRIBUTION CENTER 



November 7, 2018, 10:48 pm
Departed USPS Regional Facility
YBOR CITY FL DISTRIBUTION CENTER 



November 7, 2018, 5:35 pm
Arrived at USPS Regional Facility
YBOR CITY FL DISTRIBUTION CENTER 



November 7, 2018
In Transit to Next Facility



November 5, 2018, 8:38 pm
Arrived at USPS Regional Facility
OAK CREEK WI DISTRIBUTION CENTER 




Product Information
